        Case: 1:04-cv-07094 Document #: 5 Filed: 06/10/05 Page 1 of 2 PageID #:17
AO 450(Rev. 5/85)Judgment in a Civil Case


                             United States District Court
                                    Northern District of Illinois
                                            Eastern Division



 Jordan, et al.                                            JUDGMENT IN A CIVIL CASE
                      v.                                              Case Number: 04 C 7094
 City of Chicago, et al.

 G          Jury Verdict. This action came before the Court for a trial by jury. The issues have been
            tried and the jury rendered its verdict.
 O          Decision by Court. This action came to hearing before the Court. The issues have
            been heard and a decision has been rendered.



 IT IS HEREBY ORDERED AND ADJUDGED that the case dismissed without prejudice for
 want of prosecution .




                                                  Michael W. Dobbins, Clerk of Court


 Date: 6/10/2005                                  /s/ Mathew P. John, Deputy Clerk
        Case: 1:04-cv-07094 Document #: 5 Filed: 06/10/05 Page 2 of 2 PageID #:18
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